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Exhibit A
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                  OFFICE OF THE DIRECTOR OF NATIONAL INTELLIGENCE
                                   WASHINGTON, DC 20511




The Honorable Nancy Pelosi
Speaker
U.S. House of Representatives
Washington. DC 20515

Dear Speaker Pelosi:

        (U) This letter responds to sections 1277 and 5714 of the National Defense Authorization
Act for Fiscal Year 2020 (P.L. 116-92) ("FY 20 NOAA"). Section 1277 provides for an
unclassified report from the Director of National Intelligence, which may include a classified
annex, consisting of a "determination and presentation of evidence with respect to the advance
knowledge and role of any current or former official of the Government of Saudi Arabia or any
current or former senior Saudi political figure over the directing, ordering, or tampering of
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Intelligence has high confidence ... were responsible for. or complicit in, ordering, controlling,
or otherwise directing an act or acts contributing to or causing the death of Jamal Khashoggi; ...
knowingly and materially assisted, sponsored, or provided financial, material, or technological
support for, or goods or services in support of, [such activities described above]; ... or impeded
the impartial investigation of the killing of Jamal Khashoggi, including through the tampering of
evidence relating to the investigation."

        (U) Section 5714 of the FY20 NDAA provides for an unclassified report from the
Director of National Intelligence on the death of Jan1al Khashoggi, consistent with protecting
sources and methods. including "identification of those who carried out, participated in, ordered,
or were otherwise complicit in or responsible for the death of Jamal Khashoggi." Consistent with
the protection of sources and methods, the Office of the Director of National Intelligence cannot
provide additional information pursuant to sections 1277 and 5714 of the FY20 NDAA at the
unclassified level. Nonetheless, we are transmitting under separate cover a classified annex that
supplements this letter with additional information.

        (U) If you have additional questions, you may contact Legislative Affairs   atf@Wl@M/




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                   OFFICE OF THE DIRECTOR OF NATIONAL INTELLIGENCE
                                    WASHINGTON,     DC 20511




The Honorable Mitch McConnell
                                                                                20 2
Majority Leader
United States Senate
Washington, DC 20510

Dear Mr. Leader:

        (U) This letter responds to sections 1277 and 5714 of the National Defense Authorization
Act for Fiscal Year 2020 (P.L. 116-92) ("FY 20 NDAA"). Section 1277 provides for an
unclassified report from the Director of National Intelligence, which may include a classified
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or were otherwise complicit in or responsible for the death of Jamal Khashoggi." Consistent with
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        (U) If you have additional questions, you may contact Legislative Affairs at (b)(3), (b)(6)




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                  OFFICE OF THE DIRECTOR OF NATIONAL INTELLIGENCE
                                   WASHINGTON,    DC 20511




The Honorable Kevin McCarthy
Minority Leader
U.S. House of Representatives
Washington, DC 20515
                                                                         2
Dear Leader McCarthy:

        (U) This letter responds to sections 1277 and 5714 of the National Defense Authorization
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                                  OFFICE OF THE DJRF.CT0R OF NATIONAL INTELLIGENCE
                                                   WASHING TON,    DC 20511




The Honorable Charles E. Schumer
Minority Leader
United States Senate
Washington, DC 20510

Dear Mr. Leader:

        (U) This letter responds to sections 1277 and 5714 of the National Defense Authorization
Actfor Fiscal Year 2020 (P.L. 116-92) ("FY 20 NDAA"). Section 1277 provides for an
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                  OFFICE OF THE DIRECTOR OF NATIONAL INTELLIGENCE
                                   WASHINGTON,     DC 20511




The Honorable Richard Bun-
Chairman
Select Committee on Intelligence
                                                                            FEB 2 0 2020
United States Senate
Washington. DC 20510

The Honorable Mark Warner
Vice Chairman
Select Committee on Intelligence
United States Senate
Washington. DC 20510

Dear Chairman BmT and Vice Chairman Warner:

        (U) This letter responds to sections 1277 and 5714 of the National Defense Authorization
Act fhr Fiscal Year 2020 (P .L. 116-92) ("FY 20 NOAA"). Section 1277 provides for an
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                            WASHINGTON, DC 20511


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                  OFFICE OF THE DIRECTOR OF NATIONAL INTELLIGENCE
                                   WASHI1'GTON,DC 20511




The Honorable Adam B. Schiff
Chairman
Permanent Select Committee on Intelligence                               fEB 2 0 2020
U.S. House of Representatives
Washington, DC 20515

The Honorable Devin Nunes
Ranking Member
Permanent Select Committee on Intelligence
U.S. House of Representatives
Washington, DC 20515

Dear Chairman Schiff and Ranking Member Nunes:

        (U) This letter responds to sections 1277 and 5714 of the National Defense Authorization
Actfor Fiscal Year 2020 (P.L. 116-92) ("FY 20 NOAA"). Section 1277 provides for an
unclassified report from the Director of National Intelligence, which may include a classified
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                  OFFICE OF THE DIRECTOR OF NATIONAL INTELLIGENCE
                                  WASHINGTON,   DC 20511




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                  OFFICE OF THE DIRECTOR OF NATIONAL INTELLIGENCE
                                   WASHINGTON,     DC 20511




The Honorable James E. Risch
Chaiiman
Committee on Foreign Relations                                               2 0 2020
United States Senate
Washington, DC 20510

The Honorable Robert M. Menendez
Ranking Member
Committee tm Foreign Relations
United States Senate
Washington, DC 20510

Dear Chairman Risch and Ranking Member Menendez:

        (U) This letter responds to sections 1277 and 5714 of the Nalional Defense Authorization
Act.for Fiscal Year 2020 (P.L. 116-92) ("FY 20 NOAA"). Section 1277 provides for an
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                  OFFICE OF THE DIRECTOR OF NATIONAL INTELLIGENCE
                                  WASHINGTON,   DC 20511

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                  OFFICE OF THE DIRECTOR OF NATIONAL lNTEI.LlGENCE
                                   WASHINGTON,     DC 20511




The Honorable Eliot L. Engel
Chairman                                                                        2 0 2020
Committee on Foreign Affairs
U.S. House of Representatives
Washington. DC 20515

The Honorable Michael T. McCaul
Ranking Member
Committee on Foreign Affairs U.S. House of Representatives
Washington, DC 20515

Dear Chairman Engel and Ranking Member McCaul:

        (U) This letter responds to sections 1277 and 5714 of the National Defense Authorization
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                  OFFICE OF THE DIRECTOR OF NATIONAL INTELLIGENCE
                                  WASHINGTON,   DC 20511

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